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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 SYNKLOUD TECHNOLOGIES, INC.

                Plaintiff,


 v.                                           Civil Action No. 1:20-cv-10564-PBS


 NUANCE COMMUNICATIONS, INC.,

                Defendant.




                    DEFENDANT NUANCE COMMUNICATION’S
                  RULE 7.1 CORPORATE DISCLOSURE STATEMENT


       Pursuant to Federal Rule of Civil Procedure 7.1(b)(2), Nuance Communications hereby

discloses that 100% of its stock is now owned by Microsoft Corporation, a publicly held

corporation.




Dated: March 22, 2022
                                            Respectfully submitted,
                                            NUANCE COMMUNICATIONS, INC.,
                                            By its attorneys,

                                            /s/ Briana R. Cummings____________
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                                             /s/ Rachael D. Lamkin______________
                                             Rachael D. Lamkin (Cal. Bar #246066)
                                             (admitted pro hac vice on 6/18/20)
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                                             /s/ David Greenbaum_______________
                                             David Greenbaum (N.Y. Bar #2947455)
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                                             david.greenbaum@nuance.com


                                CERTIFICATE OF SERVICE

I hereby certify that on March 22, 2022, I served a copy of the within disclosure electronically
on all registered participants in this case via the Court’s ECF filing system.

                                             /s/ Briana R. Cummings
                                             Briana R. Cummings




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